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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                    4:08CR3173
                                              )
            v.                                )
                                              )
JOHN S. CISNEROS,                             )       ORDER ON MOTION TO RESTRICT
                                              )
                    Defendants.               )
                                              )


     IT IS ORDERED that the Motion to Restrict, filing 106, is granted.

     Dated September 20, 2010.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
